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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

  MELANIE DAVIS,                     )     Case No. 18-cv-81004-RLR
                                     )
        Plaintiff,                   )
                                     )
  v.                                 )     Judge: Hon. Robin L. Rosenberg
                                     )     Magistrate Judge: Hon. Bruce E. Reinhart
  POST UNIVERSITY, INC.,             )
                                     )
        Defendant.                   )



                    DEFENDANT POST UNIVERSITY, INC.’S
        OPPOSITION TO PLAINTIFF’S MOTION TO INVALIDATE OR STRIKE
                     DEFENDANT’S OFFER OF JUDGMENT
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                                          INTRODUCTION

         In an effort to avoid costly and protracted litigation, Defendant Post University, Inc. (the

  “University”) properly utilized Federal Rule of Civil Procedure 68 (“Rule 68”) and served

  Plaintiff with an offer of judgment. Plaintiff contends, contrary to the plain language of the

  Federal Rules, that Rule 68 cannot apply in the class action context.

         However, there is no bar to the use of a Rule 68 offer in a class action, including prior to

  class certification. Indeed, the very first sentence of the Rules states that “[t]hese rules govern

  the procedure in all civil actions and proceedings in the United States district courts, except as

  stated in Rule 81.” Fed. R. Civ. P. 1 (emphasis added). There is no exception for Rule 68’s

  applicability to putative class actions in Rule 81 (or elsewhere). And tellingly, as detailed below,

  the Advisory Committee considered – and rejected – carving out Rule 68 offers from Rule 23

  actions.

         At bottom, Plaintiff’s Motion is not ripe and seeks a premature advisory opinion that is

  precluded by the plain language of the Rules. Defendant therefore respectfully requests that this

  Court deny Plaintiff’s Motion to Invalidate or Strike Defendant’s Offer of Judgment.

                                    FACTUAL BACKGROUND

         Plaintiff Melanie Davis, on behalf of herself and a class of similarly situated individuals,

  filed her class action complaint against the University alleging violations of the Telephone

  Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. Shortly thereafter, on September 26,

  2018, the University submitted an offer of judgment (the “Offer”) to Plaintiff pursuant to Federal

  Rule of Civil Procedure 68. The Offer was intended to resolve Plaintiff’s individual claims

  against the University in this action and to avoid protracted and costly litigation with her.




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                                              ARGUMENT

  I.      PLAINTIFF’S MOTION SHOULD BE DENIED BECAUSE IT REQUIRES THE
          COURT TO ISSUE AN ADVISORY OPINION

          Plaintiff’s request is premature for two reasons. First, a court cannot strike an offer that

  is not on the record. Rule 68 itself bars filing an offer that has been rejected. See Fed. R. Civ. P.

  68(b) (“Evidence of an unaccepted offer is not admissible except in a proceeding to determine

  costs.”). If there is no offer on the record, then there is no offer for the court to strike.

  Accordingly, because Plaintiff has rejected the University’s Offer, the Offer should not be

  admitted on the record per Rule 68(b).

          Second, the University has not taken any action as a result of Plaintiff’s rejection, such as

  moving for costs, that would put the Offer onto the record. Plaintiff’s rejection of the

  University’s Offer does not prevent Plaintiff from pursuing her class action claims.

  Consequently, Plaintiff seeks an advisory opinion for a potential future action, and thus her

  motion is not ripe.

          Indeed, Plaintiff fails to note that several Florida district courts refused to invalidate a

  Rule 68 offer when confronted with nearly the same situation as the one before this Court. For

  example, in Leahy-Fernandez v. Bayview Loan Servicing, LLC, No. 8:15-CV-2380-T-33TGW,

  2016 WL 1047159, at *1 (M.D. Fla. Mar. 16, 2016), plaintiff Leahy-Fernandez filed a class

  action complaint against defendant Bayview. Before the deadline for class certification,

  Bayview served Leahy-Fernandez with a Rule 68 offer of judgment, which Leahy-Fernandez

  rejected. Id. The offer was not filed with the Court, and as of the date of the Court’s ruling,

  Bayview had not sought any relief with regard to the offer of judgment. Id. The Court in Leahy-

  Fernandez declined to strike Bayview’s offer, holding:




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         Leahy-Fernandez’s Motion is also denied to the extent it requests this Court to
         strike an offer of judgment that is not a part of the record currently before the Court.
         Although an offer of judgment is not filed until it is accepted or a defendant seeks
         costs, Fed. R. Civ. P. 68(a)-(b), it nevertheless remains true that the Court simply
         has nothing to strike until the offer is filed on the record.

  Id. at *2. Furthermore, the Court held that “Leahy-Fernandez’s Motion is denied to the extent it

  requests this Court to declare the offer ineffective. Bayview has not yet moved for relief under

  Rule 68. Thus, determining the effectiveness of Bayview’s offer of judgment would be

  advisory.” Id. at *2; see also Turner v. Food Corp., Inc., No. 08-61042-CIV, 2009 WL

  10668616, at * 5 (S.D. Fla. Feb. 3, 2009) (denying motion to strike Rule 68 offer and ruling that

  there is “no precedential case law disallowing Rule 68 offers simply because they were made in a

  class action case”).

         Similarly, earlier this year, another Florida district court concluded the same. In

  Northrup v. Independent Truckers Group, Inc., No. 8:17-CV-1890-T-36JSS, 2018 WL 1787506,

  at *2 (M.D. Fla. Apr. 12, 2018), the Court held that it had nothing to strike because the Rule 68

  “Offer [wa]s not included in the record before the Court . . . . Also, because [the defendant had]

  not moved for relief under Rule 68, the Court’s determination of the effectiveness of the Offer

  would constitute an improper advisory decision.” Id. (ruling further that “the Rules of Civil

  Procedure do not exempt offers of judgment from class actions”).

         District courts around the country have used the same reasoning to deny motions like

  Plaintiff’s. See Jacobson v. Persolve, LLC, No. 14-CV-00735-LHK, 2014 WL 4090809, at *4

  (N.D. Cal. Aug. 19, 2014) (finding that plaintiff’s motion to strike defendant’s offer was

  procedurally improper because the judgment was not filed with the court, and the court became

  “aware of the existence of the Offer of Judgment only after Plaintiff moved to strike it. In the

  absence of a filing, there [wa]s nothing for the court to strike.”); White v. Ally Fin. Inc., No.




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  2:12-CV-00384, 2012 WL 2994302, at *3 (S.D. W.Va. July 20, 2012) (finding no “compelling

  reasons to strike a matter that is not a part of the record and indeed cannot properly be admitted

  to the record except in a proceeding to determine costs”); Buechler v. Keyco, Inc., No. CIV.

  WDQ-09-2948, 2010 WL 1664226, at *3 (D. Md. Apr. 22, 2010) (concluding that because Rule

  68(b) states that “evidence of an unaccepted offer is not admissible except in a proceeding to

  determine costs,” plaintiff’s unaccepted offer could not be filed with the court, and therefore

  there was nothing for the court to strike).

         Accordingly, Plaintiff’s Motion should be denied.

  II.    RULE 68 OFFERS ARE A VALID AND ACCEPTABLE LITIGATION TOOL

         Even if the issues raised by Plaintiff were ripe, which they are not, Plaintiff’s Motion

  should be denied because a Rule 68 offer is a legitimate and accepted litigation tool. Litigation

  is an extremely time-consuming, labor-intensive and expensive process. The law favors the

  settlement of disputes whenever possible. Federal Rule of Civil Procedure 68 was enacted “to

  encourage settlement and avoid litigation” by prompting the parties to “evaluate the risks and

  costs of litigation, and to balance them against the likelihood of success upon trial on the merits.”

  Marek v. Chesny, 473 U.S. 1, 5 (1985). “Rule 68’s policy of encouraging settlements is neutral,

  favoring neither plaintiffs nor defendants; it expresses a clear policy of favoring settlement of all

  lawsuits.” Id. at 10.

         Here, Plaintiff’s entire contention with the Offer is based on the purported “conflict” that

  she allegedly faces vis-à-vis the putative class members who she seeks to represent. See Pl.’s

  Mem. at 10 (“Plaintiff already and actually has to consider the potential costs of filing motions

  that benefit the putative classes – such as the one here – with the correlated increase in costs that

  could be shifted.”). As a threshold matter, however, Plaintiff has not established that she




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  personally will be liable for costs under Rule 68(d) if the judgment she obtains (if any) is not

  more favorable than the University’s Offer. That is, Plaintiff has not proven that she has an

  engagement agreement with her attorney in which she will bear any costs associated with

  litigation. Without such evidence, there is no way for the Court or the University to ascertain the

  veracity of the entire basis of Plaintiff’s Motion.

          In fact, as is quite common, if she has a contingency agreement with her attorneys

  pursuant to which she will not be responsible for any out-of-pocket costs, but will instead only

  share in any upside, then Plaintiff faces no potential conflict that could result from the Offer.

  That is, her attorneys would bear any costs resulting from rejecting the Offer. If this is the case,

  Plaintiff’s attorneys are essentially seeking to preemptively eliminate one of the major tools

  provided to defendants in the Federal Rules to constrain the plaintiff’s side from advancing

  unsupported positions and needlessly multiplying the costs to the defendant. Thus, Plaintiff’s

  entire Motion is predicated on a completely unsupported factual premise. The Court should

  therefore not validate what appears to be an attempt by Plaintiff’s counsel to escape the potential

  consequences of their decisions in this case, including those they have yet to make. This is the

  whole purpose of Rule 68.

          But even assuming that Plaintiff has an agreement with her attorney in which she is to

  pay costs for this litigation, which Plaintiff should have, but did not, establish in her Motion,

  there is still nothing that bars the use of a Rule 68 offer in class action litigation. In fact, the

  issue of excluding class action litigations from Rule 68 was considered and rejected by the

  drafters of the Rules, as noted by the court in Leahy-Fernandez: “Furthermore, the Advisory

  Committee was well aware of Rule 23, but it chose not to exempt Rule 23, i.e., class actions,

  from Rule 68’s purpose. . . . [T]he Advisory Committee rejected a proposed amendment to




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  Rule 68 that would have exempted Rule 23 from Rule 68.” Leahy-Fernandez, 2016 WL

  1047159, at *1 (emphasis added); see also Roundtree v. Bush Ross, P.A., No. 8:14-CV-00357-

  T27AEP, 2014 WL 12638851, at *2 (M.D. Fla. Apr. 24, 2014) (“Tellingly, the Advisory

  Committee to the Rules of Civil Procedure proposed a revision of Rule 68 in 1984 that would

  have expressly precluded offers of judgment in class actions for the reasons argued by

  Roundtree, but the proposal was rejected.”).1

         To be sure, Plaintiff cites a handful of non-binding district court cases in which a court

  held with cursory analysis that it had the authority to declare ineffective a defendant’s Rule 68

  offer of judgment. Pl.’s Mem. at 2–3. But it is a basic tenant of statutory construction that two

  rules should be harmonized and not read as creating a conflict. The two Eleventh Circuit district

  court cases Plaintiff relies upon2 turn this rule of statutory construction on its head to create a

  conflict where none exists in order to find Rule 68 should yield to Rule 23 — even though such a

  result ignores the very first sentence of the very first Rule.

         That is, Rule 1 unequivocally states that the rules that follow apply to all civil actions,



   1
          See also Northrup, 2018 WL 1787506, at *2 (“[T]he Advisory Committee was well aware
   of Rule 23, but it chose not to exempt Rule 23, i.e., class actions, from Rule 68’s purpose. To be
   sure, the Advisory Committee rejected a proposed amendment to Rule 68 that would have
   exempted Rule 23 from Rule 68.”).
  2
          See Gilmore v. USCB Corp., 323 F.R.D. 433, 435 (M.D. Ga. 2017); Sampaio v. People
  First Recoveries, LLC, Case No. 07-22436, 2008 WL 509255 (S.D. Fla. Feb. 19, 2008). These
  decisions rush through the analysis without any consideration of Rule 1 and the drafters’
  conscious decision to have Rule 68 apply to putative class action cases. These decisions are not
  good law on this basis alone. Moreover, the court’s decision in Gilmore that Rule 23(d) provides
  a court the authority to invalidate Rule 68 offers is not supported by the plain language of that
  rule. Gilmore, 323 F.R.D. at 435. Specifically, the court found that Rule 23(d) permits a court
  to “‘issue orders’ that ‘impose conditions on the representative parties’ and ‘deal with similar
  procedural matters.’” Id. (citing Fed. R. Civ. P. 23(d)). Invalidating a defendant’s Rule 68 offer
  is hardly imposing conditions on the representative party. Instead, it would eliminate potential
  consequences to the party, Plaintiff, who is seeking to be a representative party. Such an
  outcome is not supported by the text of Rule 23 at all.


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  unless specifically excepted. There is no exception to Rule 68’s applicability to class actions,

  and Plaintiff’s Motion should be denied on this independent basis.

  III.    SERVING A RULE 68 OFFER IN CLASS ACTION CASES IS PERMISSIBLE

          Plaintiff curiously cites to Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 670 (2016),

  where the Supreme Court held that an unaccepted offer of judgment will not moot a Plaintiff’s

  individual claims in a class action case. In Campbell-Ewald, defendants served a Rule 68 offer

  of judgment before the named plaintiff filed a motion for class certification in an action

  stemming from alleged TCPA violations. Id. at 667. The Court considered whether the

  plaintiff’s rejection of the offer resulted in the federal courts losing subject matter jurisdiction

  over the case. Id. at 669–72. However, the Court provided no indication that it viewed the pre-

  certification Rule 68 offer itself as improper, see id. at 669–85, when that would have easily

  mooted the entire controversy before the Court. If the Court had found the offer itself

  impermissible, it would not have proceeded to address the issue of whether the action itself

  became moot.

          Courts have interpreted this outcome as the Supreme Court’s approval of a Rule 68 offer

  prior to class certification. See, e.g., Combe v. Goodman Frost, PLLC, 217 F. Supp. 3d 986, 989

  n.4 (E.D. Mich. 2016) (“As Defendants observe, the decision in Campbell-Ewald appears to

  implicitly reject the notion that a defendant is precluded from making a Rule 68 offer of

  judgment in a putative class action. Campbell-Ewald was brought as a class action, and the

  defendant in that case, like Defendants here, served a Rule 68 offer of judgment prior to the

  named plaintiff's filing of a motion for class certification.”).

          Other Circuit Courts of Appeal have considered a similar fact pattern to that in Campbell-

  Ewald, and like Campbell-Ewald, these courts have also declined to prohibit the use of a Rule 68




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  offer pre-certification when they could have easily disposed of the appeal on that basis. See

  Weitzner v. Sanofi Pasteur, Inc., 819 F.3d 61 (3d Cir. 2016) (Third Circuit considered whether

  such rejection rendered the action moot, but did not touch upon the issue of whether serving the

  Rule 68 offer before certification was impermissible); see also Bais Yaakov of Spring Valley v.

  Act, Inc., 798 F.3d 46 (1st Cir. 2015) (same).3 Accordingly, after Campbell-Ewald, while Rule

  68 offers cannot moot the named plaintiff’s claims, such offers still remain a permissible

  litigation tool to encourage settlement, even in class action cases.

  IV.    PLAINTIFF’S ALTERNATIVE REQUEST THAT THE COURT ALLOW
         PLAINTIFF TO ACCEPT OR REJECT THE UNIVERSITY’S OFFER WITHIN
         FOURTEEN DAYS OF A DECISION ON HER MOTION FOR CLASS
         CERTIFICATION IS NOT SUPPORTED BY RULE 68

         Plaintiff argues that should the Court decide not to strike or invalidate the University’s

  offer, the Court should, in the alternative, allow her fourteen days from any ruling on her Motion

  for Class Certification to decide whether to accept the Offer, with any cost-shifting accruing

  from that point if she rejects the offer. Pl’s Mem. at 11. However, this is not supported by Rule

  68. No Court, except one in New Mexico, has offered this kind of relief. And that is for good




  3
          Even if this were an issue about whether the Offer mooted the case, which it is not, the
  University’s Rule 68 Offer was not for the “maximum allowable relief” allowed for Plaintiff’s
  claims, and thus would not moot her claims or deprive this Court of subject matter jurisdiction.
  Shamblin v. Obama for Am., No. 8:13-CV-2428-T-33TBM, 2014 WL 6686328, at *6 (M.D. Fla.
  Nov. 26, 2014). Plaintiff alleges at least eight telephone calls at $1,500 per violation for willful
  violations, and she apparently (and mistakenly) believes she can recover for multiple violations
  per call. See generally, Compl. But even limiting her damages to a per call basis, that would
  equal $12,000 if Plaintiff could establish she is entitled to the maximum damages under the
  statute. Yet the University offered her less than that. Accordingly, the Offer would not moot
  this case as advanced by Plaintiff. Relatedly, Plaintiff makes the conclusory assertion that the
  Offer was not made by Defendant in good faith, citing to Slovin v. Sunrun, Inc., in which the
  Court stated “[f]ederal courts apply Rule 68(d)’s cost-shifting provisions so long as the offer is
  made in ‘good faith.’” No. 15-CV-5340 YGR, 2017 WL 2902902, at *1 (N.D. Cal. July 7,
  2017). It is difficult to see how the University can be utilizing Rule 68 in bad faith if it offered
  Plaintiff less than she believes she is entitled to under her unsupported TCPA theories.


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   reason—because such relief is extraordinary and not supported by Rule 68, which mandates that

   “[i]f the judgment that the offeree finally obtains is not more favorable than the unaccepted

   offer, the offeree must pay the costs incurred after the offer was made.” Fed. R. Civ. P. 68(d)

   (emphasis added). Under the plain language of Rule 68, the costs cannot be deferred to some

   later date, but begin to accrue from the date the offer was made.

          Plaintiff’s alternative relief would require this Court to inject itself into the private

   settlement discussions of the parties and dictate the terms upon which Defendant settles in favor

   of Plaintiff; thereby, potentially forcing a settlement by court order as opposed to the parties

   reaching a meeting of the minds. This is all the more extreme because the only reason such a

   settlement position is known by the Court is the Plaintiff’s exposure of confidential settlement

   discussions and terms. As explained above, Rule 68 offers are valid even before class

   certification, and thus the Court should deny Plaintiff’s motion in its entirety.

                                             CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that this Court deny Plaintiff’s

   Motion to Strike or Invalidate Defendant’s Offer of Judgment.


   Dated: October 16, 2018                        Respectfully submitted,

                                                  By: /s/ Mary Joanne Dowd
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 16, 2018, the foregoing was filed electronically with the
   Clerk of Court to be served by Notice of Electronic Filing from the Court’s electronic filing
   system upon the following:

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